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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *    Case No.: 21-15-APM
THOMAS EDWARD CALDWELL                            *
       *       *       *      *       *       *        *     *         *       *     *

                                             ORDER
       Upon consideration of the Defendant’s Unopposed Motion to Amend Conditions of
Release, it is hereby ordered by the United States District Court for the District of Columbia that
the Motion is GRANTED and that the Defendant, with approval and assistance by Pretrial
Services, be permitted to remove his ankle monitor for his MRI procedure scheduled on January
23, 2024 at 8:15 a.m. at the Valley Health Winchester Outpatient Diagnostic Center.



                                              Amit Digitally         signed
                                                             by Amit Mehta


       __________________
                                              Mehta 23:08:36 -05'00'
                                                             Date: 2024.01.11
                                              ____________________________________
       Date                                   Honorable Amit P. Mehta
                                              United States District Court
